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5
                          UNITED STATES DISTRICT COURT
6

7                       CENTRAL DISTRICT OF CALIFORNIA
8
                                           Case No.: 2:21-cv-03349-JAK-PD
9     SHAJI, MOHANDAS, an individual; and, (LASC case no. 20STCV47063)
10
      LEKHA SHAJI, an individual,                 [Assigned to Honorable Judge John A.
11                                                Kronstadt]
12                Plaintiffs,
                                       PLAINTIFFS SHAJI, MOHANDAS,
13
      vs.                              AND LEKHA SHAJI’S
14                                     OPPOSITION TO DEFENDANT
      WELLS FARGO BANK, N.A., and DOES WELLS FARGO BANK, N.A.’S
15
                                       MOTION TO DISMISS.
16    1-50, inclusive,
17
                                       Date: September 30, 2021
                   Defendants.         Time: 08:30 A.M., pacific
18

19                                                First Amend. Compl.: March 30, 2021
                                                  Original Compl.    : Dec. 08, 2020
20

21

22

23

24
      PURSUANT TO LOCAL RULES 11-3, AND 11-6, PLAINTIFFS SHAJI
25

26    MOHANDAS, AND LEKHA SHAJI SUBMIT THIS OPPOSITION TO
27
      MOTION TO DISMISS TO THIS HONORABLE COURT, ALL PARTIES,
28

      AND THE ATTORNEY(S) ON RECORD, HEREIN:

                                              1

                         PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS
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13

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24    (9th Cir. 1981)…………………………………………………………………pg.07
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26
      ///
27

28    ///


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                         PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS
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1
                     MEMORANDUM OF POINTS & AUTHORITIES
2
                                      I.     INTRODUCTION
3

4           Not only is present Defendant Wells Fargo Bank, N.A. (“Present
5
      Defendant”) wrong on several points in its motion to dismiss, Wells Fargo Bank,
6

7     N.A. exposes its instant Motion to Dismiss for what it really is: an attempt to
8
      further delay adjudication of Plaintiffs’ claim, and implementing deceptive tactics
9

10
      to gain diversity jurisdiction in incorrectly changing defendants from Original

11    Defendant Wells Fargo & Company (“Original Defendant”) to present Defendant
12
      Wells Fargo Bank, N.A..
13

14          The dismissal Defendant Wells Fargo Bank, N.A. seeks under Federal Rule
15
      of Civil Procedure 12(b)(6) is proper only in “extraordinary” cases. Greenspan v.
16

17
      Admin. Office of the United States Courts, No.14-cv-2396 JTM, 2014 WL
18    6847460, at *4 (N.D. Cal. Dec. 4, 2014) (citing United States v. Redwood City, 640
19
      F.2d 963, 966 (9th Cir. 1981)). The Ninth Circuit mandates that courts should grant
20

21    a 12(b)(6) motion only where a plaintiff’s complaint lacks a “cognizable legal
22
      theory” or sufficient facts to support a cognizable legal theory. Balistreri v.
23

24    Pacifica Police Dept ., 901 F.2d696, 699 (9th Cir. 1990).
25
            The question presented in a motion to dismiss is not whether the plaintiff
26
      will prevail in the action, but whether the plaintiff is entitled to offer evidence in
27

28    support of the claim. Brave New Films 501(c)(4) v. Weiner, 626 F. Supp. 2d 1013,


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1
      1015 (N.D. Cal. 2009). Applying this established law, the Court must deny
2
      Defendant’s motion.
3

4            Based on Defendant Wells Fargo Bank, N.A.s’ persistent
5
      misrepresentations of the law and facts, the Court should be all the more skeptical
6

7     of Defendants’ arguments and refuse to indulge its efforts in wasting judicial
8
      resources and time to prevent Plaintiffs from receiving redress for its harms.
9

10
            Accordingly, for the reasons set forth below, and all communications,

11    incorporated herein and on which Plaintiffs rely, Plaintiffs Mohandas, and Lekha
12
      Shaji respectfully request this Court deny Defendant Wells Fargo Bank, N.A.s’
13

14    motion to dismiss, and in the alternative, seek leave to amend.
15
                               II.    FACTUAL ALLEGATIONS
16

17
            On March 30, 2021, Plaintiffs, by and through its undersigned counsel, filed
18    its First Amended Complaint to rectify any, and all defective documents they may
19
      have received from a legal consultant, Sandy Castro.
20

21          When Plaintiffs filed the Original Complaint against Original Defendant
22
      Wells Fargo & Company, the loan issuer situated in the State of California with
23

24    nerve center in California, Defendant Wells Fargo Bank, N.A., did not have
25
      appropriate diversity jurisdiction to appear before this honorable Court.
26
            Between April 19, and 20, 2021, Mr. Jeremy Shulman (“Mr. Shulman”) - in
27

28    trying to evade state court jurisdiction and in desperately seeking federal diversity


                                                8

                          PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS
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1
      jurisdiction to favor his client - deceptively e-mailed Plaintiffs’ Counsel that
2
      correct defendant in this case is Wells Fargo Bank, N.A.
3

4           Based on its good-faith, Plaintiffs oblige in changing the defendant
5
      promptly, because Plaintiffs were unaware of Mr, Shulman’s game.
6

7           Then, Plaintiffs’ Counsel reached out to Mr. Shulman to further meet-and-
8
      confer on a stipulation previously filed with the state court regarding the case-
9

10
      management conference.

11          Again, in a dilatory and deceptive tactic, Mr. Shulman proposed an
12
      extension of time in filing his responsive pleading.
13

14          After review, Plaintiffs’ Counsel informed Mr. Shulman of being admitted
15
      to the Central District of California, and in signing the appropriate extension for
16

17
      for federal court.
18          In a turn of events, Mr. Shulman, without properly meeting-and-
19
      conferring on all stated issues of his motion to dismiss, files the Wells Fargo
20

21    Bank, N.A.’s motion to dismiss in federal court.
22
            Plaintiffs were shocked, as they signed an extension form, and only because
23

24    of Mr. Shulman’s delay in filing the appropriate extension, failing to meet-and-
25
      confer, and engaging in gamesmanship throughout this process, Plaintiffs found
26
      themselves removed to federal court with a motion to dismiss.
27

28           Mr. Shulman provided Plaintiffs’ Counsel no meet-and-confer issues on this


                                                 9

                           PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS
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1
       motion to dismiss, especially as it pertains to second and third mortgages with
2
       Creative and Citi.
3

4            To date, Plaintiffs already resolved all their invoices with Creative, and Citi,
5
       and remain current on any and all mortgages and payments owed to those second
6

7      and third mortgages.
8
              Mr. Shulman brings up irrelevant mortgages to hide behind, and conceal
9

10
       the shortcomings of its own client, Wells Fargo & Company, deceptively

11     changed to its parent company, Wells Fargo Bank, N.A.
12
                   III.     LEGAL STANDARD FOR MOTION TO DISMISS
13

14            Motions to dismiss are disfavored, as there exists “‘a powerful presumption
15
       against rejecting pleadings for failure to state a claim.’” Gilligan v. Jamco Dev.
16

17
       Corp., 108 F.3d 246, 249 (9th Cir. 1997) (quoting Auster Oil & Gas, Inc. v.
18     Stream, 764 F.2d 381, 386 (5th Cir.1985)). “[A] complaint should not be dismissed
19
       for failure to state a claim unless it appears beyond doubt that the plaintiff can
20

21     prove no set of facts in support of his claim which would entitle him to relief.”
22
       Conley v. Gibson, 355 U.S. 41, 45-46 (1957).
23

24           A motion to dismiss brought under Federal Rule of Civil Procedure 12(b)(6)
25
       tests the legal sufficiency of a complaint, which requires “a short and plain
26
       statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P.
27

28     8(a). A complaint does not require detailed factual allegations; it simply must plead


                                                 10

                            PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS
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1
       “enough facts to state a claim to relief that is plausible on its face.” Bell Atlantic
2
       Corp. v. Twombly, 550 U.S. 544, 570 (2007).
3

4            In considering a motion to dismiss, a district court must take as true all well-
5
       pleaded allegations of material fact and must construe them in the light most
6

7      favorable to the plaintiff. Ileto v. Glock, Inc., 349 F.3d 1191, 1200 (9th Cir. 2003).
8
       A court also must take into account all inferences supporting the complaint that a
9

10
       trier of fact reasonably could draw from the evidence. See id. “At the pleading

11     stage, general factual allegations of injury resulting from the defendant’s conduct
12
       may suffice, for on a motion to dismiss [the court] ‘presum[es] that general
13

14     allegations embrace those specific facts that are necessary to support the claim.’”
15
       Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992) (citation omitted).
16

17
             “The issue is not whether a plaintiff will ultimately prevail but whether the
18     claimant is entitled to offer evidence to support the claims. Indeed it may appear on
19
       the face of the pleadings that a recovery is very remote and unlikely but that is not
20

21     the test.” Jackson v. Carey, 353 F.3d 750, 755 (9th Cir. 2003) (quoting Scheuer v.
22
       Rhodes, 416 U.S. 232, 236 (1974)); see also Austin v. Terhune, 367 F.3d 1167,
23

24     1171 (9th Cir. 2004) (“‘Pleadings need suffice only to put the opposing party on
25
       notice of the claim . . . .’” (quoting Fontana v. Haskin, 262 F.3d 871, 977 (9th Cir.
26
       2001))). A motion to dismiss for failure to state a claim should not be granted
27

28     unless it appears beyond doubt that plaintiff can prove no set of facts in support of


                                                  11

                           PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS
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       the claim that would entitle him to relief. See Hishon v. King & Spalding, 467 U.S.
2
       69, 73 (1984) (citing Conley v. Gibson, 355 U.S. 41, 45-46 (1957)); see also
3

4      Palmer v. Roosevelt Lake Log Owners Ass’n, 651 F.2d 1289, 1294 (9th Cir. 1981).
5
                                        IV.    ARGUMENT
6

7         A. DEFENDANT’S MOTION TO DISMISS MUST BE DENIED.
8
             In reviewing a motion to dismiss, all factual allegations must be accepted as
9

10
       true, and the First Amended Complaint must be construed in Plaintiffs’ favor to

11     determine whether, under any reasonable reading of such Complaint, Plaintiffs
12
       may be entitled to relief. any ambiguity in the documents must be resolved in favor
13

14     of the plaintiffs. Jenkins v. McKeithen, 395 U.S. 411, 421, reh’g denied, 396 U.S.
15
       869 (1969); Knievel v. ESPN, 393 F.3d 1068, 1076-77 (9th Cir. 2005.) Thus, if a
16

17
       complaint alleges sufficient facts giving rise to a plausible claim, the motion must
18     be denied, and Plaintiffs must be given the opportunity to offer evidence in support
19
       of their claims.
20

21           1. DECEPTIVE TACTICS OF DEFENDANT(S) TO GAIN DIVERSITY
22
                 JURISDICTION IN IMPROPERLY INFORMING PLAINTIFFS OF
23

24               PARENT COMPANY DEFENDANT, I.E., WELLS FARGO BANK,
25
                 N.A., INSTEAD OF ORIGINAL DEFENDANT AND PERPETRATOR,
26
                 WELLS FARGO & COMPANY.
27

28           In this case before the Court, the “forum defendant rule” prohibits removal


                                                12

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1
       based on diversity jurisdiction if one of the properly joined and served defendants
2
       is a citizen of the state in which the action is filed. Corporations remain as citizens
3

4      of both the state or foreign state, where they incorporated and also the state or
5
       foreign state in which their principal place of business is located.
6

7            The test for domicile of a Corporation is not where the parent company of
8
       defendant is located; the test is where the principal place of business, nerve center,
9

10
       and business operations were controlled from. Hertz Corp. v. Friend, 559 US 77 –

11     2010. All such domicile of original Defendant Wells Fargo & Company in this
12
       present matter points to the State of California. Moreover, California defines
13

14     “doing business” as “actively engaging in any transaction for the purpose of
15
       financial or pecuniary gain or profit.” Revenue & Taxation Code § 23101(a.)
16

17
              Original Defendant Wells Fargo & Company is actively doing business in
18     the State of California procuring, and alleging to lend sound home mortgage loans
19
       to homeowners such as Plaintiffs for financial and pecuniary profit.
20

21            In addition, based on Plaintiffs’ Counsel’s research, several lawsuits exist
22
       against Wells Fargo & Company, N.A., in the State of California, and in other
23

24     jurisdictions, such as New York. No reason exists, except to seek federal diversity
25
       jurisdiction, as to why this original Defendant was to be amended to its parent
26
       company, present Defendant Wells Fargo Bank, N.A.
27

28            No absolute requirement was in place for Mr. Shulman to have Plaintiffs


                                                  13

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1
       change the defendant from Wells Fargo Company to Wells Fargo Bank, N.A.; he
2
       did so only to gain federal diversity jurisdiction.
3

4            This Motion to Dismiss must be denied for this sole reason, where
5
       Defendants engage in gamesmanship to litigate in federal court, under falsely-
6

7      sought diversity jurisdiction and in deceiving Plaintiffs.
8
             2. FAILURE OF DEFENDANT(S) TO ABIDE UNDER CALIFORNIA
9

10
                 CODE, CODE OF CIVIL PROCEDURE SECTION 2294 (c) WELL-

11               PLED IN FIRST AMENDED COMPLAINT.
12
             In California, C.C.P. Section 2924c overrides typical mortgage acceleration
13

14     clauses to provide borrower the right to cure a default after paying the amount in
15
       default, rather than the entire principal balance, plus specified fees and expenses.
16

17
             The California Legislature-enacted Civil Code Section 2924c provides when
18     all or part of the principal secured by a mortgage or deed of trust becomes due as a
19
       result of the borrower’s default in making payments, the borrower may reinstate
20

21     the loan and avoid foreclosure by paying the amount in default, along with
22
       certain fees and expenses. Taniguchi v. Restoration Homes, LLC, No. A152827,
23

24     2019 WL 1923068 (Cal. Ct. App. Apr. 30, 2019), as corrected (May 2, 2019).
25
             The statutory intent was to counteract the “acceleration clauses” often
26
       included by lenders in loan documents (accelerating the loan and requiring full
27

28     payment of the entire loan in the event of default) and served the public policy of


                                                 14

                           PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS
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1
       saving equities in homes, provided such equities were often built over time
2
       through the borrower’s monthly payments.
3

4            Thus, this Court must recognize how Defendant(s) failed to meet their code-
5
       based duty, and must rule in the interest of Plaintiffs in saving equities in its now-
6

7      lost home.
8
             a. Failure of Original and Present Defendant(s) to Establish a “Workout:
9

10
                 and a “Single Point of Contact” for Plaintiff Shajis’ Payment of Timely

11               Replacement Financing in the amount of $375,000 on Dec. 13, 2019,
12
                 five-days before loan acceleration.
13

14           Original Defendant Wells Fargo & Company’s Lack of Acceptance of
15
       borrower-Plaintiffs’ Payment of Replacement Financing precluded Plaintiffs from
16

17
       making even a single payment to prevent delinquency and foreclosure of their 20-
18     year old home.
19
             Under C.C.P. 2923.7:
20
                    “(a) When a borrower requests a foreclosure prevention alternative,
21
             the mortgage servicer shall promptly establish a single point of contact and
22           provide to the borrower one or more direct means of communication with
23
             the single point of contact. [intentionally omitted…]

24                 (c) The single point of contact shall remain assigned to the borrower’s
25           account until the mortgage servicer determines that all loss mitigation
             options offered by, or through, the mortgage servicer have been exhausted or
26
             the borrower’s account becomes current.”
27

28




                                                 15

                           PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS
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1
             In fact, Original Defendant Wells Fargo faltered in its Loss-Mitigation
2
       program. It never designated a single point of contact for the Plaintiff-Borrowers to
3

4      communicate, as per C.C.P. section 2923.7. No Proper Communication.
5
             Thus, when Plaintiffs sent the Dec. 13, 2019 letter-of-intent to initiate
6

7      Payment of Replacement Financing from Standard Home Lending, in the amount
8
       of $375,000, for a $600,000 equity home, to possibly cure any and all amounts in
9

10
       default with Original Defendant Wells Fargo & Company. Such communication

11     remains valid and enforceable, and is not barred, and occurred within the five-days
12
       stated under C.C.P. 2924(c.) Defendants sent notice on Dec. 18, 2019.
13

14           The Plaintiff-Borrowers’ Right to Reinstate remains prior to foreclosure, and
15
       even before Defendant issued any and all alleged Notice. C.C.P. Section 2953
16

17
       provides that the right of reinstatement created by § 2924c cannot be waived in
18     “[a]ny express agreement made or entered into by a borrower at the time of or in
19
       connection with the making of or renewing of any loan secured by a deed of trust,
20

21     mortgage, or other instrument creating a lien on real property.”
22
             Even under 24 CFR § 203.333 - Reinstatement of defaulted mortgage:
23

24           “If after default and prior to the completion of foreclosure proceedings the
       mortgagor shall cure the default, the insurance shall continue as if a default had not
25
       occurred, provided the mortgagor pays to the mortgagee such expenses as the
26     mortgagee has incurred in connection with the foreclosure proceedings and the
       mortgagee gives written notice of reinstatement to the Commissioner.”
27

28




                                                 16

                           PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS
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1
              Plaintiffs adequately pleaded all such facts in their First Amended
2
       Complaint, where they offered Replacement Financing to Defendant(s) via
3

4      Standard Home Lender, in the amount required to cure default, as well as directly
5
       communicate with Original Defendant Wells Fargo & Company. In terms of
6

7      second and third mortgages, irrelevant to present and Original Defendant(s)’
8
       mortgage, Plaintiffs paid off all their balances, and remain current on any and all
9

10
       invoices.

11           No workout plan of Defendant(s) based on any subsequent agreement was
12
       put forth. See also Hamud v. Hawthorne (1959) 52 Cal.2d 78, which did not
13

14     involve a subsequent agreement, and Morello v. Metzenbaum (1944) 25 Cal.2d
15
       494. In addition, Plaintiffs did not waive or diminish its right to reinstatement,
16

17
       under any subsequent agreement. 2 Bernhardt et al., Cal. Mortgages, Deeds of
18     Trust, and Foreclosure Litigation (Cont.Ed.Bar 4th ed. 2019) § 10.1, p. 10-5.)
19
             3. PLAINTIFFS ADEQUATELY PLED ANY AND ALL FACTUAL
20

21                 ALLEGATIONS TO SUPPORT ITS CLAIMS IN FIRST, SECOND,
22
                   THIRD, FOURTH, FIFTH, AND SIXTH CAUSES OF ACTION.
23

24           Based on above California Civil Code, and factual allegations in First
25
       Amended Complaint, in each cause of action: first (FAC Lns. 55-71), second (FAC
26
       Lns. 72-81), third (FAC Lns. 82-88,) fourth (FAC Lns. 89-95,) fifth (FAC Lns. 96-
27

28     98,) and sixth (FAC Lns. 98-108), Plaintiffs adequately pleaded sufficient facts to


                                                 17

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1
       support each premise, and each element of such causes of action.
2
              Plaintiffs sufficiently pled the who, what, where, why, and how of each
3

4      element of each cause of action under 1-6.
5
              For the First Cause of Action, FAC Lns. 55-71, Plaintiffs adequately pled
6

7      to who, what, why, how, and in what method of communication, Plaintiffs send
8
       their Replacement Financing Letter, dated Dec. 13, 2019, with their loan
9

10
       commitment offer from Standard Home Lending to Defendants. Plaintiffs

11     sufficiently plead their C.C.P. code section requirements under 2924(c.)
12
             For the Second Cause of Action, FAC Lns. 72-81, Original Defendant, and
13

14     present Defendant were under a code-based duty, C.C.P. section 2294, and
15
       executed agreements, as Loan-Service Providers to reinstate the mortgage pursuant
16

17
       to Homeowners’ willingness to pay default amounts with acquired Replacement
18     Financing with Standard Home Lending.
19
             For the Third Cause of Action (FAC Lns. 82-88,) Plaintiffs identified the
20

21     making of a specifically enforceable type of contract, sufficiently certain in its
22
       terms; adequate consideration, and a just and reasonable contract; Plaintiff's
23

24     performance, tender, or excuse for nonperformance; and Defendant’s breach in
25
       failing to adhere to accept Replacement Financing Plaintiffs timely provided on
26
       December 13, 2021 in letter, fax, and e-mail format to Defendant. (Civil Code
27

28     §3391.) Such material factual allegations were adequately provided for in the First


                                                 18

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1
       Amended Complaint.
2
             For the Fourth Cause of Action (FAC Lns. 89-95,) specifically Lns. 93-94,
3

4      show material facts where Defendants breached their fiduciary duty under a
5
       contract, and thus, accrued damages to Plaintiffs.
6

7            For the Fifth Cause of Action (FAC Lns. 96-98,) Plaintiffs paid their
8
       mortgage payment on time, and remained current for 18 of the 20 years, since
9

10
       2005. Plaintiffs built sufficient equity in its home over time, as per California

11     public policy. Yet, Defendants were unjustly enriched
12
             For the Sixth Cause of Action (FAC Lns. 98-108,) Plaintiffs’ FAC Lns.
13

14     101, 103-105 pled facts sufficient to allege a cause of action under California’s
15
       expansive Unfair Competition Law, Cal. Cod., Bus. & Prof. Code § 17200 et seq..
16

17
             In Tanaguchi v. Restoration Homes, supra, under Section 2924c wrongly
18     denying borrowers the right to reinstate their loans can constitute a basis for a
19
       companion claim under California’s expansive UCL laws. The court reasoned
20

21     UCL is “broad in scope” and any conduct by the lender that is inconsistent with
22
       Section 2924c can be used as a predicate for a UCL claim. Id. The FAC adequately
23

24     pleads facts where California Code, Business & Professions Code Sections 17200,
25
       et seq., prohibits acts of unfair competition, which means and includes any
26
       “fraudulent business act or practice . . .” and conduct which is “likely to deceive”
27

28     and is “fraudulent” within the meaning of Section 17200.100.


                                                 19

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1
             As more fully described in the FAC, the Foreclosing Defendants’ acts and
2
       practices are more than likely to deceive, constituting a fraudulent business act or
3

4      practice. This conduct is ongoing, and continues to this date. Thus, Defendant(s)
5
       claims in motion to dismiss hold no merit.
6

7            Such Defendants were under a duty to establish a single point of contact,
8
       where any loss prevention communication from Plaintiffs would be effectively
9

10
       communicated.

11           For example, in Taniguchi v. Restoration Homes, supra, No. A152827, the
12
       Court held that the loan modification at issue was “appropriately viewed as the
13

14     making or renewal of a loan secured by a deed of trust . . . and is thus subject to the
15
       anti-waiver provisions of Section 2953.” Therefore, the court held that the lender
16

17
       had failed to show that the borrowers “could not prevail on their claim” that the
18     lender violated § 2924c and was accordingly not entitled to summary judgment,
19
       and remanded the matter to the trial court. Id.
20

21           California courts have long recognized the public policy behind the right to
22
       reinstatement. A Court of Appeal in 1949 observed:
23

24            “Section 2924c of the Civil Code was first enacted in 1933, during a time of
       financial stress and depression throughout the United States. The purpose of the
25
       legislation was to save equities in homes, in many instances built up through years
26     of monthly payments. . . . While conditions are fortunately different than they were
       in 1933, the protection given by the section to borrowers is just as important now
27
       as it was then. The right to make up payments in default and thus avoid calling the
28     entire loan and sale under a trust deed is good public policy at any time.”


                                                 20

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1
             Magnus v. Morrison (1949) 93 Cal.App.2d 1, 3.
2
              Failure of Defendants to even reply to Plaintiffs’ Replacement Financing
3

4      of the entire amount in default pervades through all causes of actions 1-6.
5
             4. NEGLIGENCE PER SE, FAC LNS. 125-130, IS SUFFICIENTLY
6

7                JUSTIFIED BASED ON NEGLIGENCE CAUSE OF ACTION IN
8
                 FIRST AMENDED COMPLAINT, AND DEFENDANTS COULD
9

10
                 REBUT ANY AND ALL EVIDENTIARY PRESUMPTION.

11           Negligence per se occurs in any situation where a defendant violated a
12
       statute or ordinance enacted to protect similarly-situated persons in the same class
13

14     or circumstances.
15
             In California, there are four elements required to establish a viable
16

17
       negligence per se theory: (1) the defendant violated a statute or regulation; (2) the
18     violation caused the plaintiff’s injury; (3) the injury resulted from the kind of
19
       occurrence the statute or regulation was designed to prevent; and (4) the plaintiff
20

21     was a member of the class of persons the statute or regulation was intended to
22
       protect. Taulbee v. EJ Distribution Corp. (2019) 35Cal.App.5th 590, 596 [247
23

24     Cal.Rptr.3d 538], internal citations omitted.)
25
             “The first two elements are normally questions for the trier of fact and the
26
       last two are determined by the trial court as a matter of law. That is, the trial
27

28     court decides whether a statute or regulation defines the standard of care in a


                                                 21

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1
       particular case.” Jacobs Farm/Del Cabo, Inc. v. Western FarmService, Inc. (2010)
2
       190 Cal.App.4th 1502, 1526 [119 Cal.Rptr.3d 529] internal citations omitted; see
3

4      also Cal. Law Revision Com. com. to Evid. Code, § 669. [Emphasis Added.]
5
             To establish a duty of care under negligence, and negligence per se is a
6

7      question for the jury. Thai v. Stang, 214 Cal. App. 3d 1264. The standard of care is
8
       high as a matter of law, that material facts show a lack of causality, but is
9

10
       unmeetable. Id.

11           As this case was originally filed under the state law of California, Plaintiffs
12
       adequately established material facts to show allegations of whether Defendant(s)’
13

14     duty owed to Plaintiffs in First Amended Complaint, under C.C.P sections 2294
15
       and 2294 (c); David v. Hernandez (2014) 226 Cal.App.4th 578, 584
16

17
       [172Cal.Rptr.3d 204].
18           The genuine issue of causation, under Evidence Code 669 (a) was
19
       sufficiently established in First-Amended Complaint, because but-for Defendants’
20

21     neglect in replying to, and accepting Plaintiffs’ Replacement payment of entire
22
       amount in default, in Plaintiffs’ letter dated December 13, 2020, Plaintiffs would
23

24     not have been harmed. Plaintiffs’ harm was actually, and proximately caused by
25
       Defendant(s) conduct, where Plaintiffs were forced to move-out, and give up their
26
       20-year old home, with sufficient equity built up in this home over the years.
27

28           Defendant(s) must rebut the presumption of negligence, but only with


                                                 22

                           PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS
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1
       evidence establishing a justification or excuse for the statutory violation.
2
       Spriesterbach v. Holland, 215 Cal.App.4th 255 (2013.) This must be pursued in
3

4      discovery, and not at the complaint pleading stage.
5
             Thus, Plaintiffs established prima facie cause of action of Negligence, and in
6

7      turn, Negligence per se as evidentiary presumption.
8
             5. PLAINTIFFS’ RIGHT OF REDEMPTION IN ITS TENTH CAUSE OF
9

10
                 ACTION IS GUARANTEED EQUITABLY AND STATUTORILY IN

11               THE STATE OF CALIFORNIA, AS WELL AS UNDER FEDERAL
12
                 LAWS.
13

14               Pursuant to the State of California laws, under California Code, Plaintiffs
15
          allegedly had 90-days to redeem property after foreclosure sale. Defendant(s)
16

17
          failed to inform Plaintiffs of such right to redemption, under their duty to
18        mitigate, under the California Code, Code of Civil Procedure sections 2923.7,
19
          and 5715.
20

21               “CIVIL CODE SECTION 5715. RIGHT OF REDEMPTION.
22
                 (a) Notwithstanding any law or any provisions of the governing
23        documents to the contrary, this section shall apply to debts for assessments that
24        arise on and after January 1, 2006.
                 (b) A nonjudicial foreclosure by an association to collect upon a debt for
25
          delinquent assessments shall be subject to a right of redemption. The
26        redemption period within which the separate interest may be redeemed from a
          foreclosure sale under this paragraph ends 90 days after the sale. In addition to
27
          the requirements of Section 2924f, a notice of sale in connection with an
28        association’s foreclosure of a separate interest in a common interest
          development shall include a statement that the property is being sold subject to

                                                 23

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1
          the right of redemption created in this section.”
2

3
             Assuming arguendo South Dakota’s laws take precedence, under South
4

5
       Dakota law, Plaintiffs would have received one year, 180 days, or 60 days to

6      redeem the home after the foreclosure, depending on the circumstances. In general,
7
       the borrower gets one year to redeem the home after a foreclosure sale. S.D.
8

9      Codified Laws § 21-52-11.
10
             Under South Dakota laws, Plaintiffs may receive rights under its mortgage
11

12     contracts to reinstate the loan in a non-judicial foreclosure. Whereas, in a judicial
13
       foreclosure, Plaintiffs when they pay the reinstatement amount before the court
14
       enters a judgment in a judicial foreclosure, the court can dismiss the foreclosure
15

16     action. S.D. Codified Laws §§ 21-47-8, 21-47-10.
17
             As Plaintiffs remain in California, and the situs of property is in California,
18

19     all California real-estate laws must apply in this case. Even under California law,
20
       C.C.P. § 726 states: “(e) If a deficiency judgment is waived or prohibited, the real
21

22
       property or estate for years therein shall be sold as provided in Section 716.020. If

23     a deficiency judgment is not waived or prohibited, the real property or estate for
24
       years therein shall be sold subject to the right of redemption as provided in
25

26     Sections 729.010 to 729.090, inclusive.” Moreover, nonjudicial foreclosure in
27
       California is that, pursuant to C.C.P. § 580d, the creditor has no right to a
28

       deficiency judgment.

                                                 24

                           PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS
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1
             Thus, Plaintiffs were under a right of redemption, and Defendants did not
2
       inform Plaintiffs of this within the statutorily allotted time frame.
3

4            6. ALL CLAIMS OF NIED AND IIED IN FIRST AMENDED
5
                  COMPLAINT REMAIN WELL-PLED.
6

7            As a result of Defendants’ misconduct caused under their duty as loan-
8
       service providers, and under California-established torts, Plaintiffs’ harm and pre-
9

10
       existing conditions were much aggravated. The physical as well as mental anguish

11     and stress Plaintiffs underwent to establish each element of the prima facie claims
12
       of NIED and IIED were adequately pleaded in the First Amended Complaint. Lns.
13

14     109-125.
15
             As per the Egg-shell skull rule, a defendant is liable for the plaintiff's
16

17
       unforeseeable and uncommon reactions to the defendant's negligent and intentional
18     tort. The tortfeasor takes his victim as he finds him, see, e.g., Gibson v. County of
19
       Washoe, 290 F.3d 1175, 1192–93 (9th Cir.2002.)
20

21           Thus, Plaintiffs’ claims of NIED and IIED, where a pre-existing physical
22
       condition of Plaintiff Mohandas Shaji was significantly exacerbated with increased
23

24     doctor’s visits during this period of reinstatement remains sufficiently pleaded in
25
       Plaintiffs’ First Amended Complaint.
26
                       7. THE MOTION TO DISMISS FAILS ON ITS MERITS IN
27

28                FAILING TO MEET-AND-CONFER, AS PER LOCAL RULE 7-3.


                                                  25

                           PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS
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1
             This Court must reject Defendants’ motion as it fails to comply with the
2
       requirements of Fed. R. Civ. P. 12(b). Nonetheless, if the Court elects to consider
3

4      the motion, the Motion must be denied as the arguments Defendants’ raise are
5
       meritless. Analysis of the Complaint as a whole demonstrates that the Complaint
6

7      contains a detailed factual account that more than satisfies Fed. R. Civ. P. 8.
8
                    a. Dilatory Tactics of Mr. Shulman in Requesting Additional Time in
9

10
                       State Court, and later to File in Federal Court; Where, When

11                     Plaintiffs’ Counsel thus provided such time, Mr. Shulman filed this
12
                       Motion to Dismiss without adhering to his proposed stipulation,
13

14                     and without effectively meeting-and-conferring on all issues stated
15
                       in his motion to dismiss in violation of Standing Orders, Pre-Filing
16

17
                       Meet-and-Confer, Local Rule 7-3.
18           Instead of reaching out to Plaintiffs’ Counsel to request additional extension
19
       of time in federal court, Mr. Shulman only brought up filing in federal court,
20

21     desiring an extension of time to file his responsive pleading in state court, and any
22
       purported motion to dismiss in federal court. This occurred when Plaintiffs’ under-
23

24     signed Counsel e-mailed Mr. Shulman on her own accord.
25
             Moreover, for a present-value $650,000 home, when Plaintiffs’ Counsel
26
       reached out urging Defendants to settle, Mr. Shulman proposed telling his clients
27

28     to settle for $1,500. Plaintiffs’ Counsel informed Mr. Shulman this was bad-faith in


                                                 26

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1
       settlement negotiations.
2
             In filing this motion to dismiss with a hearing date in August 2021, Mr.
3

4      Shulman is engaging in dilatory tactics, further delaying adjudication of Plaintiffs’
5
       rights under California and Federal laws. This Court must take such tactics of
6

7      counsel into consideration while denying this motion to dismiss.
8
                    b. The Court Must Consider the Complaint in Its Entirety when
9

10
                        Evaluating a Motion to Dismiss for Failure to State a Claim.

11           FAC Lns. 1-51 well-plead any, and all factual allegations in Plaintiffs’ First-
12
       Amended Complaint.
13

14           Consideration of the First-Amended Complaint as a whole demonstrates it
15
       meets the requirements established under the Federal Rules. “[A] complaint must
16

17
       contain sufficient factual matter to ‘state a claim for relief that is plausible on its
18     face.’” Ashcroft v. Iqbal, 129 S.Ct. 1937, 1949 (2009) (quoting Bell Atlantic Corp.
19
       v. Twombly, 550 U.S. 544, 570 (2007)). This standard is met where “the plaintiff
20

21     pleads factual content that allows the court to draw the reasonable inference that
22
       the defendant is liable for the misconduct alleged.” Iqbal, 129 S.Ct. at 1949 (citing
23

24     Twombly, 550 U.S. at 556).
25
             In this case, the First Amended Complaint presents a detailed recitation of
26
       Plaintiffs’ assertions that more than satisfies the pleading requirements. A review
27

28     of the entire Complaint demonstrates that the Complaint in no way relies upon


                                                   27

                           PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS
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1
       mere legal conclusions but contains a detailed factual account of Defendants’
2
       illegal practices and wrongful foreclosure under California and Federal laws.
3

4                                     V.     CONCLUSION
5
             Based on all foregoing reasons as well as above-stated authorities, Plaintiffs
6

7      Mohandas, and Lekha Shaji respectfully request this Court deny Plaintiffs’ motion,
8
       and in the alternative, seek leave to amend complaint.
9

10
       ///

11     DATED: MAY 17, 2021                   Respectfully Submitted,
12

13

14                                           Reshma Kamath,
                                             Counsel,
15
                                             For Plaintiffs Lekha, and Mohandas Shaji
16

17

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                                                28

                          PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS
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1

2
                                       PROOF OF SERVICE
3
             F.R.C.P. 5 / C.C.P. § 1013(a)(3), C.C.P. § 1010.6(a)(6) / Cal. R. Ct. R. 2.260
4

5
             I am a resident of, or employed in, the County of Yuma, Arizona. I am over
       the age of 18, and not a party to this action. My business address is: P.O. Box
6      2792, Yuma, Arizona 85366. On May 17, 2021, I served the following
7      document(s), by method indicated below, on the parties in this action: SEE
       ATTACHED SERVICE LIST.
8

9      PROOF OF SERVICE FOR PLAINTIFFS SHAJI, MOHANDAS, AND
10
       LEKHA SHAJI’S OPPOSITION TO DEFENDANT WELLS FARGO
       BANK, N.A.’S MOTION TO DISMISS.
11

12     METHODS OF SERVICE:
13     U.S.P.S. MAIL; AND, ELECTRONIC SERVICE.
14     ///
       I declare under penalty of perjury under the laws of the State of California and the
15
       United States of America that the above is true and correct. Executed on May 17,
16     2021 in Yuma, Arizona.
17
       ///
                                                     /s/ Reshma Kamath
18                                                       Reshma Kamath
19
       SERVICE LIST
20

21     Jeremy E. Shulman, Esq. Anglin Flewelling & Rasmussen LLP,
22
       301 N. Lake Avenue, Suite 1100, Pasadena, California 91101-4158,
       E-Mail: jshulman@afrct.com
23

24     ///
25
       COURTESY COPIES DELIVERED TO COURT CHAMBERS OF HONORABLE
26
       JUDGE, AS PER Local Rule 5-4.5.
27

28




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                             PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS
